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   UNITED STATES DISTRICT COURT
   DISTRICT OF NEW JERSEY

   SCARINCI HOLLENBECK, LLC
   DAVID EDELBERG, ESQ. (022381983)
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   Little Falls, New Jersey 07424
   (201) 896-7701 (Tel)
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   dedelberg@sh-law.com
   Counsel to Nest Global Solutions, LLC
   In Re:
                                                                  23-cv-23205-JXN-LDW
   NEST GLOBAL SOLUTIONS, LLC
                                                                  Chapter 11 Case No.: 23-18405-JKS
                                           Debtor.
   Joseph G. Kaplan and Ray Diwakar,

                                           Plaintiffs,

   v.

   NEST Global Solutions, LLC, its predecessors,
   successors or assigns; Members of the Board of
   Directors of NEST Global Solutions, namely, Lisa
   Marks-Canty (a/k/a Lisa Canty or Lisa Marks or Lisanne
   Canty or Blockchain Princess); Michael Williams;               Docket No. MID-L-2720-23
   Theodore K. Smith, Sr. (a/k/a Teddy Smith or Ted
   Smith); Art Certosimo; John D Pearce (a/k/a JD Pearce;
   Sandeep Bajaj; Stuart Clarke and William Luby, as
    Board of Director Members, and in their business
   and individual capacities; Colin Canty in his business                         SO ORDERED.
    and individual capacity; James A. Sarna, Esq,; and                     s/ Leda Dunn Wettre, U.S.M.J.
   Sarna & Associates, PC; ABC Corps (1-10) and John
   and Jane Does (1-10),                                                          1/12/2024
                                                                          Dated: ___________________

                                           Defendants.



        ORDER REFERRING REMOVED ACTION TO THE BANKRUPTCY COURT

            The relief set forth on the attached pages one (1) through two (2) is hereby ordered.



  {00048555}
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  Kaplan et al v. Nest Global Solutions et al,
  23-cv-23205-JXN-LDW


           This matter having come before the Court upon the filing of a Notice of Removal

  pursuant to 28 U.S.C. Section 1452 regarding an action pending in the Superior Court of New

  Jersey, Law Division, Middlesex County, case number MID-L-2720-23 (the “Removed Action”)

  filed by the plaintiffs, Joseph G. Kaplan and Ray Diwakar against the defendants, Nest Global

  Solutions, LLC, Lisa Marks Canty, Michael Williams, Theodore K. Smith, Sr., Art Certosimo,

  John D. Pearce, Sandeep Bajaj, Stuart Clark, William Luby, Colin Canty, James A. Sarna, Esq,

  and Sarna & Associates, PC., it appearing that the United States District Court’s Standing Order

  of Reference, dated July 23, 1984, as amended on September18, 2012 by the Honorable Jerome

  B. Simandle authorizes this Court to refer the Removed Action to the United States Bankruptcy

  Court for the District of New Jersey, it appearing that Nest Global Solutions, LLC is the debtor

  in a pending Chapter 11 case before the Honorable John K. Sherwood, Case Number 23-

  18405(JKS), and the parties having consented to the relief provided for herein, and for good

  cause shown, it is:

               Ordered that the Removed Action is hereby referred and transferred to the United States

          Bankruptcy Court for the District of New Jersey for further proceedings before such Court.




  {00048555}                                       -2-
  4882-6348-5084, v. 1
